         Case 1-21-42997-nhl                           Doc 33-1             Filed 04/13/22    Entered 04/13/22 13:13:39



                    Bank
                    America's Most Convenient Bank®                              T     STATEMENT OF ACCOUNT




       QUINCY BEDFORD I LLC                                                            Page:                                 1 of 2
       DIP 1-21-42999                                                                  Statement Period:   Mar 01 2022-Mar 31 2022
       3284 N 29TH CT                                                                  Gust Ref#:           XXXXX2438-039-T-###
       HOLLYWOOD FL 33020                                                              Primary Account#:              XXXXX2438




 Overdraft Policy Change Effective April 8, 2022

The following change applies only to Commercial and Small Business Checking Accounts and Money Market Accounts with
check access: TD is making changes to reduce Customer overdraft fees: Instead of charging an overdraft fee if you overdraw
your account by greater than $10, you may now overdraw your account by up to $50 without TD charging you an overdraft fee.

For Business Checking accounts on Account Analysis Billing, all overdrafts, regardless of volume, are billed through Account
Analysis. Please contact your Treasury Management Officer for further details.
Chapter 11 Checking
QUINCY BEDFORD I LLC                                                                                              Account# XXXXXX2438
DIP 1-21-42999


ACCOUNT SUMMARY
Beginning Balance                                             1.00                           Average Collected Balance           3,900.46
Deposits                                                  5,590.00                           Interest Earned This Period             0.00
                                                                                             Interest Paid Year-to-Date              0.00
Electronic Payments                                         955.48                           Annual Percentage Yield Earned        0.00%
Ending Balance                                            4,635.52                           Days in Period                            31



DAILY ACCOUNT ACTIVITY
Deposits
POSTIIIIG DATE              DESCRiPTiON                                                                                           AMOUNT

03/07                       DEPOSIT                                                                                              5,590.00
                                                                                                           Subtotal:             5,590.00
Electronic Payments
POSTIMG DATE                DESCRIPTION                                                                                           ;�MOUNT
03/18                       ELECTRONIC PMT-WEB, NATIONAL GRID NY UTILITYPAY ****6134620                                               955.48
                                                                                                           Subtotal:                  955.48


DAILY BALANCE SUMMARY
D.ATE                                                     BALANCE                            DATE                               BALANCE
02/28                                                        1.00                            03/18                              4,635.52
03/07                                                    5,591.00




Call 1 �800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
B,wk Deposit;:,; FDIC lnsur0d I TD Bank. N.A. '. Equa1 Huw,inq L,:,nder @
